Case 1-19-43172-nhl Docé6 Filed 05/24/19 Entered 05/24/19 12:38:02

UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK

 

In re:
SUMAN PANTHI, Case No. 19-

Debtor. Chapter 13
Xx

 

CHAPTER 13 DEBTOR’S CERTIFICATIONS REGARDING
DOMESTIC SUPPORT OBLIGATIONS AND SECTION 522(q)

Part I. Certification Regarding Domestic Support Obligations (check no more than one):
Pursuant to 11 U.S.C. Section 1328(a), I certify that:

ct owed no domestic support obligation when I filed my bankruptcy petition, and I
have not been required to pay any such obligation since then.

© 1 am or have been required to pay a domestic support obligation. I have paid all
such amounts that my chapter 13 plan required me to pay. I have also paid all such
amounts that became due between the filing of my bankruptcy petition and today.

Part II. If you checked the second box, you must provide the information below.

My current address:
My current employer and my employer’s address:

 

 

 

Part III. Certification Regarding Section 522(q) (check no more than one)

Pursuant to 11 U.S.C. Section 1328(h), I certify that:

bd I have not claimed an exemption pursuant to § 522(b)(3) and state or local law (1)
in property that I or a dependent of mine uses as a residence, claims as a homestead, or
acquired as a burial plot, as specified in § 522(p)(1), and (2) that exceeds $155,675* in
value in the aggregate.

O) Ihave claimed an exemption in property pursuant to § 522(b)(3) and state or local
law (1) that I or a dependent of mine uses as a residence, claims as a homestead, or
acquired as a burial plot, as specified in § 522(p)(1), and (2) that exceeds $155,675'* in
value in the aggregate.

Part IV. Debtor’s Signature
I certify under penalty of perjury that the information provided in these

certifications is true and correct to the best of my knowledge and belief.
Executed on S le , 2019

“=o

nN
Debtor

 

| Amounts are subject to adjustment on 4/01/16, and every 3 years thereafter with respect to cases commenced on or after the date of
adjustment.
